                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 PLANNED PARENTHOOD SOUTH                             )
 ATLANTIC, et al.,                                    )
                                                      )
                       Plaintiffs,                    )
                                                      ) Case No. 1:23-cv-00480-CCE-LPA
 v.                                                   )
                                                      )
 JOSHUA STEIN, et al.,                                )
                                                      )
                       Defendants.

   PLAINTIFFS’ UNOPPOSED MOTION TO EXCEED WORD LIMITATION

        Plaintiffs, by and through undersigned counsel, respectfully move for a 2,250-word

extension of the 6,250-word limit for briefs prescribed by Local Rule 7.3(d)(1). In support,

Plaintiffs state:

        1.     Plaintiffs intend to move for a temporary restraining order and preliminary

injunction in the above-captioned case. Plaintiffs plan to file their motion today, June 21,

2023.

        2.     At issue in this litigation are Parts I and II of North Carolina Session Law

2023-14 (“S.B. 20” or “the Act”). See Verified Compl. for Injunctive & Declaratory Relief

(ECF No. 1). S.B. 20 is lengthy, consisting of 45 single-spaced pages. The Act drastically

revises existing state law governing abortion by amending or creating more than 50

sections of the General Statutes of North Carolina. These changes affect nearly every aspect

of the provision of abortion in the state.




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       3.     Plaintiffs have filed an 87-paragraph complaint that raises numerous claims

challenging the constitutionality of various provisions of the Act, including on Due Process,

Equal Protection, and First Amendment grounds.

       4.     Plaintiffs’ brief in support of their motion for a temporary restraining order

and preliminary injunction seeks to enjoin the Act based, in large part, on numerous,

confusing and contradictory sections of the Act and raises numerous constitutional

arguments, including that: the Act is unconstitutionally vague; sections of the Act are

irrational; sections of the Act impose requirements that are impossible to comply with;

sections of the Act explicitly contradict one another; and sections of Act can be interpreted

in ways that violate the First Amendment.

       5.     To both adequately explain the inconsistencies and contradictions resulting

from S.B. 20’s extensive changes to North Carolina law and to make comprehensive legal

arguments that demonstrate Plaintiffs’ likelihood of success on the merits of their claims,

Plaintiffs request permission to file an overlength brief in support of their motion for a

temporary restraining order and preliminary injunction.

       6.     Plaintiffs’ counsel attempted to confer by e-mail with counsel for all parties

this morning. Counsel for all Defendants except Defendants Crump, David, Freeman,

Williams, West, Nieman, O’Neill, Deberry. and Merriweather (collectively, the District

Attorney Defendants) have responded. All who have responded state that they do not

oppose this Motion. Counsel for the District Attorney Defendants has not yet

communicated a position on this Motion.




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       7.     Plaintiffs have agreed that if Defendants decide to move for similar word

extensions for their responses, Plaintiffs will not oppose such a motion.

       WHEREFORE, Plaintiffs respectfully request that the Court allow them to file a

brief not to exceed 8,500 words in support of their Motion for a Temporary Restraining

Order and Preliminary Injunction.



Dated: June 21, 2023

Respectfully submitted,

s/ Kristi Graunke
Kristi Graunke                                   Brigitte Amiri*
NC Bar # 51216                                   Lindsey Kaley*
Jaclyn Maffetore                                 Ryan Mendias*
NC Bar # 50849                                   American Civil Liberties Union
American Civil Liberties Union                   Foundation
of North Carolina Legal Foundation               125 Broad Street, 18th Fl.
P.O. Box 28004                                   New York, NY 10004
Raleigh, NC 27611                                Tel: 212-549-2633
Tel.: (919) 354-5066                             bamiri@aclu.org
kgraunke@acluofnc.org                            lkaley@aclu.org
jmaffetore@acluofnc.org                          rmendias@aclu.org

COUNSEL FOR ALL PLAINTIFFS                       COUNSEL FOR BEVERLY GRAY, M.D.

Peter Im*                                        *Special appearance filed
Helene T. Krasnoff*
Planned Parenthood Fed. of America
1110 Vermont Avenue NW, Suite 300
Washington, DC 20005
Tel.: (202) 973-4800
peter.im@ppfa.org
helene.krasnoff@ppfa.org

COUNSEL FOR PLANNED
PARENTHOOD SOUTH ATLANTIC



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                             CERTIFICATE OF SERVICE

       I hereby certify that, on June 21, 2023, I electronically filed the foregoing with the

clerk of the court by using the CM/ECF system and will also serve this motion on

Defendants’ counsel via email. For defendants who have not yet agreed to accept service

by email alone, I will serve by certified U.S. mail.


                                           s/ Kristi Graunke
                                           Kristi Graunke
                                           NC Bar # 51216
                                           American Civil Liberties Union
                                           of North Carolina Legal Foundation
                                           P.O. Box 28004
                                           Raleigh, NC 27611
                                           Tel.: (919) 834-3466
                                           kgraunke@acluofnc.org




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